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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
__________________________________________________________________


LELAND FOSTER,                         )
                                       )
                                       )
                 Plaintiff,            )
                                       ) Case No. 2:15-cv-12886
      v.                               )
                                       )
WHITMORE LAKE HOTELS, INC., ) Judge Gerald E. Rosen
                                       )
a Michigan Corporation, d/b/a The Best ) Magistrate Judge R. Steven Whalen
Western of Whitmore Lake,              )
                                       )
                 Defendant.            )




    STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

      The parties to this action stipulating to the dismissal with prejudice of the

Complaint of Plaintiff Leland Foster (“Plaintiff”);

      IT IS HEREBY ORDERED that Plaintiff’s Complaint shall be and hereby

is dismissed with prejudice and without costs or attorney’s fees to any party.

      IT IS SO ORDERED.

Dated: October 29, 2015                s/Gerald E. Rosen
                                       Chief Judge, United States District Court
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SO STIPULATED:


s/ Owen B. Dunn , Jr. (with consent)        s/ Paul A. Wilhelm
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October 28, 2015




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